  Case 1:20-cv-00666-MN Document 14 Filed 12/21/20 Page 1 of 2 PageID #: 66




                       THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

              Plaintiff,
                                                   CIVIL ACTION NO. 1:20-cv-00666-MN
       v.

 SPRINTCOM, INC.,

              Defendant.



                           JOINT STIPULATION OF DISMISSAL

      Plaintiff Rothschild Broadcast Distribution Systems, LLC and Defendant Sprintcom, Inc.

by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

      1.     All claims asserted by the Plaintiff in this Action are dismissed with prejudice

             under Fed. R. Civ. P. 41(a)(1)(A)(ii);

      2.     Each party shall bear its own costs and attorneys’ fees with respect to the matters

             dismissed hereby;

      This Stipulation shall finally resolve the Action between the parties.

Dated: December 21, 2020            Respectfully submitted,
                                    /s/Jimmy Chong
                                    JIMMY CHONG, ESQ. (#4839)
                                    CHONG LAW FIRM, P.A.
                                    2961 Centerville Rd.
                                    Ste 350
                                    Wilmington, DE 19808
                                    (302) 999-9480
                                    chong@chonglawfirm.com

                                    ATTORNEY FOR PLAINTIFF

                                    /s/Stephen J. Kraftschik
                                    Christina Belitz Vavala
                                    Polsinelli PC
Case 1:20-cv-00666-MN Document 14 Filed 12/21/20 Page 2 of 2 PageID #: 67




                           222 Delaware Avenue, Suite 1101
                           Wilmington, DE 19801
                           (302) 252-0920
                           Fax: (302) 252-0921
                           Email: cvavala@polsinelli.com

                           Stephen J. Kraftschik
                           Polsinelli PC
                           222 Delaware Avenue, Suite 1101
                           Wilmington, DE 19801
                           (302) 252-0926
                           Fax: (302) 252-0921
                           Email: skraftschik@polsinelli.com

                           ATTORNEYS FOR DEFENDANT
